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                   EXHIBIT A
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    1
                              IN THE UNITED STATES DISTRICT COURT
    2
                              IN AND FOR THE DISTRICT OF DELAWARE
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    4   ACADIA PHARMACEUTICALS INC.,                  )
                 Plaintiff,                           )
    5     v.                                          )
                                                      )   C.A. No.
    6   AUROBINDON PHARMA LIMITED, et al.,            )   20-985-GBW
                                                      )
    7                   Defendants.                   )
                                                      )
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                                         - - - -
   10
                                    Wilmington, Delaware
   11                               Wednesday, September 27, 2023
                                     Motion Transcript
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                                        - - - -
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   14
          BEFORE:    HONORABLE GREGORY B. WILLIAMS
   15                UNITED STATES DISTRICT COURT JUDGE

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                                                  Michele L. Rolfe, RPR, CRR
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    1     first-filed and then its child to demonstrate the point.

    2                   THE COURT:    Okay.   Thank you.

    3                   All right.    So the Court will take this matter

    4     under advisement and get the parties a decision as soon as

    5     it reasonably can.      The Court is aware of the expiration of

    6     the 30-month stay and I do believe it's in October some

    7     time?

    8                   MR. PETERMAN:     Yes, Your Honor.

    9                   There's a seven-and-a-half year stay that ends

   10     in October, but our understanding is that -- well, we know

   11     there's other patents that are in the Orange Book, and we

   12     understand that MSN filed paragraph 3 -- some paragraph 3

   13     notices with respect to those patents, meaning that they,

   14     you know, agree that they will not get approval until after

   15     those patents expire.      And those patents expire in the

   16     middle of January 2024, I think, January 15, 2024.

   17                   THE COURT:    Okay.

   18                   MR. PETERMAN:     So the Court -- and counsel can

   19     certainly correct me if he has a different interpretation.

   20     The end of October date, MSN still won't get its approval at

   21     that point, so if the Court certainly needs some more, some

   22     more time.    And so my understanding is that MSN, you know,

   23     can't and won't, you know, launch at that time, it has to

   24     wait until at least the January 15, 2024 date.

   25                   MR. TANG:    Yeah, that's correct.      Those patents,
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    1     including the '271, which is discussing, is blocking us

    2     until January 15, 2024.

    3                   THE COURT:    Okay.

    4                   All right.    Thanks for that clarification.        The

    5     Court, again, will take the matter under advisement and get

    6     a ruling out as soon it reasonably can.

    7                   All right.    Thank both sides.

    8                   (Whereupon, the following proceeding concluded

    9     at 2:58 p.m.)

   10                         I hereby certify the foregoing is a true

   11     and accurate transcript from my stenographic notes in the

   12     proceeding.

   13                                     /s/ Michele L. Rolfe, RPR, CRR
                                               U.S. District Court
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